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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 PROTECT OUR AQUIFER, ENERGY                      )
 ALABAMA, Doing Business as                       )
 Energy Alabama, and APPALACHIAN                  )
 VOICES,                                          )
                                                  )
         Plaintiffs,                              )
                                                  )        No. 2:20-cv-02615-TLP-atc
 v.                                               )
                                                  )
 TENNESSEE VALLEY AUTHORITY,                      )
                                                  )
         Defendant.                               )


      ORDER DENYING MOTION TO RECONSIDER AND CLARIFYING ORDER TO
                 COMPLETE THE ADMINISTRATIVE RECORD


        Earlier this year, this Court ordered TVA to complete the administrative record with

seven sets of documents. (See ECF No. 53.) And a few weeks later, TVA moved this Court to

reconsider its decision about one of those document sets—the communications between TVA

decision makers and local power companies after August 22, 2019, that related to the long-term

agreement. (ECF No. 54.) TVA argues that the Court committed clear error in ordering these

documents to be produced. That is, TVA claims that the administrative record can only contain

the documents before the agency when the Board voted to adopt the long-term agreement on

August 22, 2019. In response, Plaintiffs contend that the Board’s vote was not the relevant final

agency action. (ECF No. 59.) Instead, they argue that “each of the 130-plus [long-term

agreements] the utility has signed since August 22, 2019 [was] a ‘final agency action’ that is

reviewable by this Court[.]” (Id. at PageID 5225.)
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       After reviewing the relevant case law, and the parties’ filings, the Court agrees with

Plaintiffs. As a result, the Court DENIES TVA’s motion to reconsider and CLARIFIES its

previous order to complete the administrative record (ECF No. 53).

                                      LEGAL STANDARD

       A district court has the inherent power to reconsider, rescind, or modify an interlocutory

order before entry of a final judgment. Leelanau Wine Cellars, Ltd. v. Black & Red, Inc., 118 F.

App’x 942, 945–46 (6th Cir. 2004) (citing Mallory v. Eyrich, 922 F.2d 1273, 1282 (6th Cir.

1991)). Under Federal Rule of Civil Procedure 54(b), a court may revise “any [interlocutory]

order or other decision . . . at any time before the entry of a judgment adjudicating all the claims

and all the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b); see also Rodriguez v. Tenn.

Laborers Health & Welfare Fund, 89 F. App’x 949, 959 (6th Cir. 2004) (“District courts have

authority both under common law and Rule 54(b) to reconsider interlocutory orders and to

reopen any part of a case before entry of final judgment.”).

        Courts revise interlocutory orders only when “there is (1) an intervening change of

controlling law; (2) new evidence available; or (3) a need to correct a clear error or prevent

manifest injustice.” Louisville Jefferson Cnty. Metro. Gov’t v. Hotels.com, L.P., 590 F.3d 381,

389 (6th Cir. 2009) (quoting Rodriguez, 89 F. App’x at 959).

       The Local Rules for this Court also help explain the limits on motions for

reconsideration. Under Local Rule 7.3, a motion to revise an interlocutory order must show:

       (1)   a material difference in fact or law from that which was presented to the
             Court before entry of the interlocutory order for which revision is sought,
             and that in the exercise of reasonable diligence the party applying for
             revision did not know such fact or law at the time of the interlocutory order;
             or
       (2)   the occurrence of new material facts or a change of law occurring after the
             time of such order; or



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        (3)   a manifest failure by the Court to consider material facts or dispositive legal
              arguments that were presented to the Court before such interlocutory order.

W.D. Tenn. R. 7.3(b).

        Additionally, “[m]otions ‘may not be used to relitigate old matters, or to raise arguments

or present evidence that could have been raised prior to the entry of judgment.’” In re Regions

Morgan Keegan Secs., Derivative, and ERISA Litig., No. 07–2784, 2010 WL 5464792, at *1

(W.D. Tenn. Dec. 30, 2010) (quoting 11 Charles Alan Wright et al., Federal Practice and

Procedure § 2810.1 (2d ed. 1995)). Although a court “can always review its prior rulings before

the termination of a case,” it “should not do so in the vast majority of instances, especially where

such motions merely restyle or rehash the initial issues.” In re Southeastern Milk Antitrust Litig.,

No. 2:08–MD–1000, 2011 WL 3793777, at *1 (E.D. Tenn. Aug. 25, 2011) (internal quotation

marks omitted).

                                            ANALYSIS

        To address TVA’s motion for reconsideration, the Court must answer a central question:

what is the final agency action at issue?1 For, without establishing the agency action in dispute,

the Court cannot opine on whether it erred when issuing its order granting Plaintiffs’ motion to

complete the administrative record. With that in mind, the Court next outlines the standard for

determining when an agency action is final for review under the Administrative Procedure Act

(“APA”), reiterates the parties’ positions on the matter, and applies the standard to the facts at

hand.




1
 Under the Administrative Procedure Act, an agency action “includes the whole or a part of an
agency rule, order, license, sanction, relief, or the equivalent or denial thereof, or failure to
act[.]” 5 U.S.C. § 551(13).
                                                  3
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       “To state a claim for relief under the APA, a plaintiff must allege that his or her injury

stems from a final agency action for which there is no other adequate remedy in court.” Bangura

v. Hansen, 434 F.3d 487, 500 (6th Cir. 2006) (citing 5 U.S.C. § 704). And to be considered

“final,” an agency action must meet two criteria. Bennett v. Spear, 520 U.S. 154, 177–78 (1997).

To be “final,” an “action must (1) ‘mark the consummation of the agency’s decisionmaking

process’ and (2) be an action ‘by which rights or obligations have been determined, or from

which legal consequences will flow.’” Arizona v. Biden, No. 22-3272, 2022 WL 2437870, at *7

(6th Cir. July 5, 2022) (quoting U.S. Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 597

(2016)); see also Biden v. Texas, 597 U.S. ––––, 2022 WL 2347211 at *13 (2022); Berry v. U.S.

Dep’t of Labor, 832 F.3d 627, 633 (6th Cir. 2016).

       Under the first prong, actions that are “merely tentative or interlocutory [in] nature” will

not constitute final agency decisions. Bennett, 520 U.S. at 178. This requirement ensures “that

judicial review of the action would [not] ‘disrupt the orderly process of adjudication.’” Berry,

832 F.3d at 633 (quoting Port of Boston Marine Terminal Ass’n v. Rederiaktiebolaget

Transatlantic, 400 U.S. 62, 71 (1970)). And “[a]n agency action is not final if it is only ‘the

ruling of a subordinate official[.]’” Franklin v. Massachusetts, 505 U.S. 788, 797 (1992)

(quoting Abbott Laboratories v. Gardner, 387 U.S. 136, 152 (1967)). As for the second prong,

an action determines the rights of a party or causes legal consequences when it “ha[s] a

‘sufficiently direct and immediate’ impact on the aggrieved party and a ‘direct effect on [its]

day-to-day business.’” Berry, 832 F.3d at 633 (quoting Abbott Laboratories, 387 U.S. at 152).

        In assessing an agency’s action therefore, “[t]he core question is whether the agency has

completed its decisionmaking process, and whether the result of that process is one that will

directly affect the parties.” Franklin, 505 U.S. at 797.



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       As noted above, TVA argues that the final agency action relevant here was its Board’s

vote approving a standard long-term agreement “consistent with the Standard Elements” and

authorizing its CEO to “implement and change, with oversight, the Standard Elements” for

agreement with LPCs. (ECF No. 33-6 at PageID 3414; see also ECF No. 54-1 at PageID 5190–

96.) It claims that the Board’s approval “represented the completion of the decision-making

process as to TVA’s offer of a monthly bill credit ‘to those LPCs that agree[d] to extend the

termination notice requirement to 20 years.’” (ECF No. 54-1 at PageID 5191 (quoting ECF No.

33-5 at PageID 3401.)) TVA also argues that, contrary to what Plaintiffs alleged in their

complaint, the implementation of the long-term agreements cannot constitute a final agency

action because implementation is a continuous process, not a pinpointable “discrete agency

action.” (Id. at PageID 5195.)

       Plaintiffs counter that TVA completed a final agency action by signing each long-term

agreement, not by implementing them. (ECF No. 59 at PageID 5233–36.) They agree with TVA

that the Board vote to approve the long-term agreement was a “critical step” in the process, but

note that “entering into [the long-term agreements] marks the consummation of [the] decision-

making process” and “create[ed] legal consequences for both parties.” (Id. at PageID 5234.) To

emphasize this point, Plaintiffs point out that TVA’s “entry into the contracts” formed the “basis

for the[ir] [TVA Act] claim[.]” (Id. at PageID 5229.)

       If an agency changes its internal operating procedures without impacting its operation,

causing inherent legal consequences, or automatically altering its relationship with third parties,

was the change a final agency action? The Court, in agreeing with Plaintiffs, finds that the

answer is no. For Plaintiffs’ TVA Act claim, its entry into each long-term agreement is a




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separate final agency action.2 And the Court reaches this conclusion because both prongs of the

Bennett test are met when TVA signs a long-term agreement with a LPC.

        For starters, signing a contract is not a “tentative or interlocutory” action, but one that

consummates the “decisionmaking process[.]” Bennett, 520 U.S. at 178. When both parties sign

the contract, it obligates them to fulfill a definite and tangible set of commitments. Once the

parties sign the agreement, these obligations are unequivocal, certain, and identifiable—there is

nothing tentative or interlocutory about a signed agreement. The Board’s vote to approve the

“implementation of a standard long-term Agreement,” on the other hand, did not, itself,

guarantee that the LPCs or that TVA would execute said agreements. (ECF No. 33-6 at PageID

3414.) Instead, the Board voted to provide TVA’s CEO with some discretion in implementing

and amending the agreement, paving the way for the CEO and LPCs to negotiate the details of

each contract. Additionally, the long-term agreement even specifies that the contract comes into

effect “on the date of TVA’s signature.” (See id. at PageID 3419–23.) This provision ensures

that the consummation of the decision-making process occurs only when both parties sign the

agreement. (See id.) As a result, the Court finds that TVA’s execution of each agreement

satisfies the first Bennett prong.




2
  To decide TVA’s motion to reconsider, the Court need only address Plaintiffs’ TVA Act claim.
The Court acknowledges, however, that the parties dispute the final agency action related to
Plaintiffs’ NEPA claim. That is, TVA argues that the final agency action relevant for that claim
occurred when “the Manager of TVA’s NEPA program” issued a memo, suggesting that the
agency did not need to perform an environmental review for the bill credit component of the
long-term agreement. (ECF No. 54-1 at PageID 5193.) Plaintiffs contend, however, that their
NEPA claim relates to the agreement’s twenty-year contract term and its evergreen provision,
not the bill credit. (ECF No. 59 at PageID 5229.) This dispute, coupled with the knowledge that
TVA later completed an environmental analysis on the long-term agreement’s flexibility
proposal in June 2020, complicates the discussion of TVA’s final agency action relating to
Plaintiffs’ NEPA claim. This dispute will be relevant at the summary judgment stage and the
Court urges the parties to clarify their positions on this point.
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       Additionally, TVA’s entry into the long-term agreements with LPCs “determine[d] rights

and obligations,” and “caused legal consequences,” that affected the parties here. Berry v. U.S.

Dep’t of Labor, 832 F.3d at 633. As at least one district court has found, in discussing final

agency actions under the APA, “determine[ing] rights and obligations” that “ha[ve] legal

consequences” is “precisely what contracts do.” Alabama v. U.S. Army Corps of Engineers, 382

F. Supp. 2d 1301, 1324 (N.D. Ala. 2005). The contracts between TVA and the LPCs also

impacted Plaintiffs in a “direct and immediate” way. Abbott Laboratories, 387 U.S. at 152. This

Court found that Plaintiffs have standing to bring claims of economic and environmental harm

against TVA because of its long-term agreements with LPCs. (See ECF No. 48 at PageID 5083–

94.) And the harms that Plaintiffs allege—like the diminished ability to purchase affordable,

renewable energy in a competitive marketplace and the effects of dirty energy generation on the

environment—are triggered only by TVA’s entry into the power supply contracts with LPCs.

(See ECF No. 17 at PageID 1255–60.) Without the signed contracts, Plaintiffs would not feel the

effect of these alleged harms. The Court finds therefore that TVA’s execution of each agreement

also satisfies the second Bennett prong.

       Think of it this way: for something to be a final agency action, the agency’s decision

must have some sort of tangible or legal effect on it or others. But here, when TVA’s Board

voted to approve the implementation of a standard long-term agreement, the vote had no effect.

The only way that the Board’s vote would affect it, or a third party, was if TVA entered a

contract with an LPC. In theory, TVA’s Board could have adopted the long-term agreement but

then failed to convince any LPC to sign it. And in that world, the Board’s vote would have

neither determined rights and obligations nor imposed legal consequences. TVA needs LPCs to

sign the long-term agreement for the contracts to have any impact. In that vein, it makes sense



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that the relevant final agency actions here occurred when TVA entered into a long-term

agreement with each LPC.3

       Because both prongs of the Bennett test are met, the Court finds that the relevant final

agency action here occurred each time that TVA and a LPC signed a long-term power supply

contract.4

       Now that the Court has addressed the relevant final agency action as it relates to

Plaintiffs’ TVA Act claim, the Court turns to TVA’s motion to reconsider. And because the

Court finds that TVA’s entering into each long-term agreement constituted a final agency action,

the Court DENIES its motion for reconsideration. At the same time, and with the final agency

action in mind, the Court CLARIFIES the types of documents that TVA must provide in

accordance with its previous order to complete the administrative record (ECF No. 53). As to

the seventh set of documents, the Court ORDERS that TVA complete the record with any




3
  The Court makes no finding about whether a vote of the TVA Board could be a final agency
action. But, for this case, and for Plaintiffs’ TVA Act claim, the Court finds that the most
relevant final agency action relates to TVA’s entry into each long-term agreement with the
LPCs.
4
  The Court acknowledges that applying the ‘final agency action’ standard to TVA’s decision to
enact a long-term power supply contract is difficult. There are few cases that evaluate an
agency’s contracting powers under this framework. But as the parties conceded during the
hearing on this motion (ECF No. 63), TVA is unlike most federal agencies. Besides the inherent
uniqueness of the agency, the TVA Act was enacted before the APA and predates the modern
administrative state. In fact, had the TVA Act been drafted later, its language may be different.
For example, in 1980 Congress passed the Pacific Northwest Electric Power Planning and
Conservation Act; which, in part, explicitly defined several actions taken by the Bonneville
Power Administration as final agency actions subject to judicial review. One said action was
executing a power sale contract with local power companies. (See 16 U.S.C. §§ 839f, 839c).
And if those oversight provisions were in the TVA Act, there would be no question about the
relevant final agency action here. Is it time for Congress to take another look at the powers
delegated to TVA and at the type of oversight that it intended to afford the agency?
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communications from TVA decision makers to LPCs, related to the adoption and negotiation of

the long-term agreement, through the date that both parties signed the long-term agreement.5

                                       CONCLUSION

        For the reasons stated above, the Court DENIES TVA’s motion to reconsider and

CLARIFIES its order to complete the administrative record.

       SO ORDERED, this 14th day of July, 2022.

                                             s/Thomas L. Parker
                                            THOMAS L. PARKER
                                            UNITED STATES DISTRICT JUDGE




5
  At the reconsideration motion hearing, TVA also noted that another category of documents that
the Court ordered it to include—a January 24, 2020, email from Daniel Pratt to LPCs—post-
dated the final agency action and should not be admitted into the record. The Court finds,
considering the discussion above, that Daniel Pratt’s email should be included in the
administrative record so long as it was sent to an LPC that entered into a long-term agreement
after Pratt’s email.
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